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          DISCOVERY MATTER: JOINT STIPULATION REGARDING BAUER’S MOTION TO
                                       COMPEL
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    1                       UNITED STATES DISTRICT COURT
    2         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
    3 TREVOR BAUER,                           Case No. 8:22-cv-00868 JVS (ADSx)
    4                                         Assigned to: Judge James V. Selna
               Plaintiff,                     Referred to: Magistrate Judge Autumn
    5                                         D. Spaeth
             vs.                              DISCOVERY MATTER: JOINT
    6
                                              STIPULATION REGARDING
    7 LINDSEY C. HILL AND NIRANJAN            BAUER’S MOTION TO COMPEL
      FRED THIAGARAJAH,                       THIRD-PARTY PRODUCTION
    8                                         AND HILL TO ANSWER
                                              QUESTIONS
    9          Defendant.
                                              [Notice of Motion to Compel; and
   10                                         Declarations of Blair G. Brown, Jesse
        LINDSEY C. HILL,                      Kaplan, Lindsey Hill and Bryan
   11                                         Freedman filed concurrently]
   12          Counterclaimant,
                                              Date: October 11, 2023
   13        vs.                              Time: 10:00 a.m.
                                              Magistrate Judge: Autumn D. Spaeth
   14                                         Courtroom:        6B
        TREVOR BAUER,
   15
               Counter-defendant.              Action Filed: April 25, 2022
   16                                          Discovery Deadline: September 1,
   17                                          2023
                                               Pretrial Conference: January 22, 2024
   18                                          Trial Date: February 13, 2024
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   26                   or fraud. ...................................................................................................... 24
   27
   28

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    1                 JOINT STIPULATION REGARDING PLAINTIFF AND
    2              COUNTERDEFENDANT BAUER’S MOTION TO COMPEL
    3            Pursuant to Local Rule 37-2, plaintiff/counter-defendant Trevor Bauer and
    4 defendant/counter-claimant Lindsey Hill submit this Joint Stipulation (the “Joint
    5 Stipulation”) relating to Bauer’s Motion to Compel the production of documents in
    6 response to the sole document request from Bauer’s Subpoena to Bryan Freedman,
    7 dated August 4, 2023, and responses to certain questions posed to Ms. Hill at her
    8 deposition on August 29, 2023.
    9            After Counsel for Mr. Bauer requested a meet and confer regarding the instant
   10 Motion to Compel, counsel briefly spoke by phone several hours later on August 30.
   11 During that call, counsel for Ms. Hill told Bauer’s counsel that: (a) Bauer’s request for
   12 a meet and confer did not contain adequate information as required by L.R. 37-1; and
   13 (b) Hill’s counsel was not available at that time. Counsel for Mr. Bauer followed-up
   14 by email stating his disagreement, providing additional argument on the basis for this
   15 Motion, and proposing a range of times for a meet and confer. See Brown Decl., Exs.
   16 I & J.1 Counsel for Ms. Hill responded that she was unable to meet and confer in
   17 advance of the close of discovery, suggesting that her earliest availability was the
   18 following week. Thus, Mr. Bauer brings the instant Motion having endeavored to meet
   19 and confer in good faith prior to the discovery deadline.2
   20       I.      BAUER’S INTRODUCTORY STATEMENT
   21            Both Ms. Hill and her attorneys have possessed since July 2021 a case-critical
   22
   23   1
        Counsel for the parties had previously met and conferred going as far back as May
   24 2023, regarding a separate subpoena to Mr. Freedman for a different communication
      concerning the transmission of the video from Ms. Hill and the alleged applicability
   25 of the crime fraud exception. See Brown Decl., Ex. C (attached May 2, 2023 letter).
   26 2
        In order to comply with the Court’s order requiring discovery motions to be filed
   27 within ten days of the close of discovery, it is Bauer’s position that counsel for Mr.
   28 Bauer is required to serve his stipulation on opposing counsel by September 1, 2023.

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    1 Snapchat video that shows Ms. Hill and Mr. Bauer mere hours after what she alleges
    2 was a vicious and traumatic encounter on May 16, 2021. The video shows Ms. Hill
    3 shortly after she alleges that she “awoke to Bauer forcefully and repeatedly punching
    4 her in the face with a closed fist.” Counterclaim ¶ 3, Dkt. No. 36. The video flatly
    5 contradicts those allegations. Ms. Hill first records her face, briefly directs the camera
    6 onto a sleeping Mr. Bauer, and then returns to recording herself “[s]mirking” – Ms.
    7 Hill is “not sure if it was a smile.” Brown Decl., Ex. G at 154:7-10. Ms. Hill is lying
    8 peacefully in bed next to Mr. Bauer, who has a night mask over his eyes. See Dkt.
    9 No. 53 (manual filing of video). Ms. Hill testified that “light scratch marks” are
   10 visible, though she has “no idea” how she got those. Brown Decl., Ex. G at 154:22 –
   11 155:5, 167:21-23. The existence of any injury is impossible to discern.
   12         Despite the video’s obvious relevance to the Domestic Violence Restraining
   13 Order (“DVRO”) that Ms. Hill pursued against Mr. Bauer, it went unproduced
   14 throughout those proceedings. That did not stop Ms. Hill’s counsel from falsely
   15 asserting to the court and to Mr. Bauer in that proceeding that Ms. Hill had produced
   16 all relevant evidence and that Mr. Bauer had “everything we have.” Brown Decl., Ex.
   17 C at 2. Discovery here has shown that Ms. Hill shared the video with her attorney,
   18 Mr. Freedman, on July 5, 2021—more than a month before those representations to
   19 Mr. Bauer and the state court. See Brown Decl., Ex. B. But Ms. Hill saw fit to omit
   20 any reference to the video during her DVRO testimony about the events of the
   21 morning of May 16, when she testified mere weeks after sharing the video with her
   22 counsel. See Brown Decl., Exs. B & H at 174:7 – 176:2, 451:18 to 452:7. In short,
   23 Ms. Hill concealed critical evidence and then lied about it.
   24         Mr. Bauer eventually obtained the video in this proceeding through discovery
   25 served on the Pasadena Police Department (“PPD”). He was lucky to. In April 2022,
   26 after consulting with her counsel, Ms. Hill demanded that the PPD “return all [her]
   27 files from the criminal investigation directly to me (documents, records, recording of
   28 the cold call, etc[.])”. Brown Decl., Ex. D. Ms. Hill asserted that the files should

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    1 “then be destroyed as PPD” supposedly had “no legal authority to disseminate or
    2 maintain [her] files.” Id. This was all despite the obvious and substantial probability
    3 of further litigation.
    4           Mr. Bauer hereby moves to compel discovery of Mr. Freedman’s
    5 communications related to the concealed video, and to compel Ms. Hill to answer a
    6 limited set of questions about her communications on the same topic. This evidence
    7 goes directly to an unlawful scheme that was intended to conceal highly relevant
    8 evidence from Mr. Bauer and the courts through false representations. It therefore
    9 falls squarely within California’s crime-fraud exception to attorney client privilege.
   10 See Cal. Evid. Code § 956; BP Alaska Expl., Inc. v. Superior Ct., 199 Cal. App. 3d
   11 1240, 1262 (Ct. App. 1988).
   12           The evidence of concealment by Ms. Hill and her counsel easily makes out the
   13 requisite prima facie case; that is a showing of evidence from which a crime or fraud
   14 can be inferred. Moreover, Mr. Bauer is offering to limit the requested information
   15 to correspondence on or before April 4, 2022—the date Ms. Hill demanded that the
   16 PPD destroy the video at issue—which ensures the discovery sought will have a
   17 “reasonable relation” to the crime or fraud.
   18     II.      HILL’S INTRODUCTORY STATEMENT
   19           Bauer seeks the substance of irrelevant and presumptively privileged
   20 communications between Hill and her counsel concerning a certain video in the
   21 context of a prior proceeding in Los Angeles Superior Court whereby Hill sought a
   22 Domestic Violence Restraining Order against Bauer (the “DVRO Proceeding”).
   23 Bauer claims that Hill’s communications with her counsel, in particular Bryan
   24 Freedman, are not protected by the attorney-client privilege based on the crime-fraud
   25 exception. Bauer is wrong.
   26           First, Bauer’s Motion(s) against Freedman and Hill are moot. Other than the
   27 text message where the video was transmitted to Freedman on July 5, 2021, Freedman
   28 and Freedman + Taitelman, LLC do not have any written communications with

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    1 anyone concerning the video in question that pre-date the commencement of this
    2 lawsuit in April 2022. (Freedman Decl., ¶ 4).3 No such communications have ever
    3 existed. (Id.). As a result, there are no additional communications to produce. Hill
    4 also confirmed at her deposition that she never spoke with any of her attorneys about
    5 producing or not producing the video at issue to Bauer in the DVRO Proceeding.
    6 (Brown Decl., Ex. G [Hill Transcript, pp. 162-163,167]). If Hill did not discuss the
    7 production or non-production of that video, it is not even possible that there could be
    8 communications about the video that could be covered by any crime-fraud exception.
    9          Second, even if Bauer’s Motions were not rendered moot, Bauer has failed to
   10 satisfy his burden that the crime-fraud exception could possibly apply. There is
   11 simply no evidence that Hill sought or obtained the services of any of her attorneys
   12 for the purpose of committing any alleged crime or fraud. There is also no evidence
   13 that any communications between Hill and her counsel furthered any alleged crime or
   14 fraud. At most, Bauer speculates that Hill’s communications with her counsel, in
   15 particular Freedman, were designed to conceal the video in question from Bauer in
   16 the DVRO Proceeding. The evidence in the record, however, does not support
   17 Bauer’s speculation. Accordingly, Bauer’s Motion(s) should be denied.
   18       III.   REQUEST FOR PRODUCTION AT ISSUE
   19 REQUEST FOR PRODUCTION NO. 1 TO BRYAN FREEDMAN:
   20          All communications concerning the May 16, 2021 video previously produced
   21 by You as BF105. Brown Decl., Ex. E at 6.
   22 RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
   23          Freedman objects to this request as it seeks information that would invade the
   24 attorney client-privilege and the attorney-work product doctrine in that it seeks email
   25 and text message communications between Hill’s present litigation counsel in this
   26
   27   3
        Freedman has already produced the text message where Hill transmitted the video
   28 to Freedman.

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    1 matter, Freedman + Taitelman, others at Freedman + Taitelman, Wesierski & Zurek
    2 LLP and/or Hill. No other third persons are parties to these communications. Such
    3 communications with present litigation counsel in the context of this litigation are
    4 presumptively privileged.         Pursuant to Federal Rule of Civil Procedure
    5 26(b)(5)(A)(ii), the aforementioned description of the nature of the documents,
    6 communications, or tangible things not produced or disclosed enables Bauer to assess
    7 the claim of privilege. Pursuant to Federal Rule of Civil Procedure 26(b)(5)(ii), no
    8 additional information is required to assess the claim of privilege.
    9         Freedman further objects to this request on the grounds that it is not relevant to
   10 the claims or defenses in this matter, overbroad in terms of scope, time, and is
   11 disproportionate to the needs of this case. Litigation counsels’ communications with
   12 each other and their client are not relevant to this action.
   13         Freedman objects to each request to the extent that it purports to require him to
   14 produce electronically stored information and/or documents in an electronic format
   15 or in a format other than the format in which the information and/or documents are
   16 kept in the ordinary course of business. Brown Decl., Ex. F at 6.
   17     IV.    DEPOSITION QUESTIONS AT ISSUE
   18 QUESTION 1
   19         What communications about the video did you have with your lawyers before
   20 the conclusion of the DVRO proceedings? Brown Decl., Ex. G at 161:3-5 (“Tr.”).
   21 RESPONSE TO QUESTION 1
   22         Hold on. This is calling for attorney-client privilege, and I’m going to instruct
   23 you not to answer. Tr. 161:6-9.
   24 QUESTION 2
   25         What communications about the video did you have with your lawyers before
   26 the conclusion of the DVRO Proceedings about producing the video or not producing
   27 the video to Mr. Bauer’s counsel? Tr. 161:11-14.
   28 RESPONSE TO QUESTION 2

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    1        Calls for attorney-client privileged communications. I’m instructing you not
    2 to answer. Tr. 161:15-17.
    3 QUESTION 3
    4        Did you have communications about the video with Mr. Freedman before the
    5 conclusion of the DVRO proceeding? Tr. 163:10-12.
    6 RESPONSE TO QUESTION 3
    7        I’m going to object that that calls for the attorney-client communication. In
    8 terms of the foundation questions, I think we’re okay to – for you asking whether or
    9 not those communications happened. Tr. 163:14-19.
   10 QUESTION 4
   11        What communications about the video did you have with Mr. Freedman before
   12 the conclusion of the DVRO proceedings? Tr. 164:1-4.
   13 RESPONSE TO QUESTION 4
   14        I’m going to object that that’s attorney-client privilege and instruct her not to
   15 answer. Tr. 164:5-7.
   16 QUESTION 5
   17        What communications about the video did you have with anyone at Mr.
   18 Freedman’s law firm about the video before the conclusion of the DVRO
   19 proceedings? Tr. 164:9-12
   20 RESPONSE TO QUESTION 5
   21        I’m going to object that’s attorney-client privilege and instruct her not to
   22 answer. Tr. 164:13-15.
   23 QUESTION 6
   24        What communications about the video did you have with Mark Grillick [sic]
   25 before the conclusion of the DVRO proceeding? Tr. 164:17-19.
   26 RESPONSE TO QUESTION 6
   27        I’m going to object that that’s attorney-client privilege. And also lacks
   28 foundation, and instruct her not to answer. Tr. 164:20-22.

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  1 QUESTION 7
  2        What communications about the video did you have with Doreen Olson before
  3 the conclusion of the DVRO proceeding? Tr. 164:24-165:1
  4 RESPONSE TO QUESTION 7
  5        Same objections. Tr. 165:2.
  6 QUESTION 8
  7        What communications about the video did you have with anyone at the Meyer
  8 Olson law firm before the conclusion of the DVRO proceeding? Tr. 165:4-6.
  9 RESPONSE TO QUESTION 8
 10        Same objections, and instruct her not to answer. Tr. 165:7-8.
 11 QUESTION 9
 12        What communications did you have with Fred, your Marsy’s Law attorney,
 13 about the video before the conclusion of the DVRO proceeding? Tr. 165:10-12.
 14 RESPONSE TO QUESTION 9
 15        Same objections, and instruct the witness not to answer. Tr. 165:13-14.
 16 QUESTION 10
 17        And what communications about the video did you have with anyone at Fred’s
 18 law firm before the conclusion of the DVRO proceeding? Tr. 165:16-18.
 19 RESPONSE TO QUESTION 10
 20        Same objections, and instruct the witness not to answer. Tr. 165:19-20.
 21 QUESTION 11
 22        And so you were aware that Mr. Bauer was trying to get materials that the
 23 Pasadena Police Department had as a result of investigating your allegations, correct?
 24 Tr. 254:6-9.
 25 RESPONSE TO QUESTION 11
 26        I don't know how to answer questions about this one because I was told what
 27 to say in this e-mail.
 28        MS. PRESCOTT: Is it communications with your attorneys?

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  1        THE DEPONENT: Yes.
  2        MS. PRESCOTT: Then I'm instructing you not to answer. Tr. 254:10-17.
  3 QUESTION 12
  4        Why did you send them an e-mail asking them to destroy the records? Tr.
  5 257:4-5.
  6 RESPONSE TO QUESTION 12
  7        MR. KAPLAN: Objection. Misstates the document. Also to the extent it calls
  8 for attorney-client privileged information or communications with her attorney, I'd
  9 instruct the witness not to answer.
 10        You can answer as long as you're not divulging anything you discussed or your
 11 attorney told you to do.
 12        THE DEPONENT: I'm just going to stick with my previous answers about it.
 13 Tr. 257:6-16.
 14 QUESTION 13
 15        And during [the period from the time of the end of the DVRO proceedings
 16 ended August of 2021 to the dates you sent this e-mail in April of 2022] did you
 17 communicate with any of your lawyers about the May 16, 2021 video? Tr. 259:12-
 18 14.
 19 RESPONSE TO QUESTION 13
 20        We’re looking at that.          That calls for attorney-client privileged
 21 communications, and I'm going to instruct her not to answer. Tr. 259:17-19.
 22 BAUER’S POSITION
 23        A.     Factual Background
 24        The instant Motion relates to Ms. Hill’s withholding and attempted spoliation
 25 of a critical piece of evidence in the DVRO proceeding, in which Ms. Hill was denied
 26 the restraining order she sought against Mr. Bauer. Brown Decl., Ex. H at 585-87
 27 (Aug. 19, 2021) (concluding that Mr. Bauer committed no nonconsensual acts and
 28 that Ms. Hill filed a “materially misleading” declaration). Taken within hours of the

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  1 May 16, 2021 encounter between Ms. Hill and Mr. Bauer, this Snapchat video depicts
  2 no visibly discernible injuries to Ms. Hill. Ms. Hill records herself, turns the camera
  3 briefly to record Mr. Bauer (who is sleeping next to her with a night mask over his
  4 eyes), and then returns the camera to her own face and smirks. Nothing in the video
  5 indicates the vicious assault that Ms. Hill alleges. See Brown Decl., Ex. A. Nor does
  6 the video contain evidence of facial injuries she now contends were caused by Mr.
  7 Bauer. A screenshot of the video is provided below for context:
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 19         Despite the significance of the video and its responsiveness to Mr. Bauer’s
 20 discovery requests, it was not produced by Ms. Hill’s counsel in the DVRO
 21 proceeding. Moreover, Ms. Hill’s counsel repeatedly represented to the court and to
 22 counsel for Mr. Bauer, both in writing and orally, that Ms. Hill had produced all
 23 relevant material. See Brown Decl., Ex. C at 2. The concealment of this video is
 24 highly material evidence regarding several issues, including Ms. Hill’s credibility and
 25 corruption with respect to matters central to this case.
 26         Ms. Hill sent this video to her lawyer, Mr. Freedman, via text message on July
 27 5, 2021, at 8:41 p.m. See Brown Decl., Ex. B. But despite being responsive and in
 28 counsel’s possession, the video was not produced. Ms. Hill’s counsel intentionally,

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  1 or in reliance on misinformation about the video from Ms. Hill, concealed the
  2 existence of this video by repeatedly and falsely representing to the state court and to
  3 counsel for Mr. Bauer that Ms. Hill had produced all relevant material. See Brown
  4 Decl., Ex. C (quoting discovery materials from the DVRO Proceeding). Nothing
  5 could have been further from the truth. The video was the most relevant and
  6 significant piece of evidence to Mr. Bauer’s case, and it was impermissibly concealed.
  7        Moreover, Ms. Hill’s August 2021 testimony in the DVRO proceeding
  8 conspicuously omitted any reference to the video despite the fact that she had texted
  9 the video to counsel more than a month earlier. See Brown Decl., Ex. H at 174:7 –
 10 176:2 (description of the morning of May 16, 2021), 451:18 to 452:7 (“NOTHING
 11 WAS INTENTIONALLY LEFT OUT TO MAKE A SITUATION LOOK BETTER
 12 OR LEAN ONE WAY” (capitalization in original)). The video was likewise omitted
 13 from counsel’s opening statement summarizing the morning of May 16. See id. at 55-
 14 56.
 15        Even though it was not produced to Mr. Bauer at the time, Ms. Hill had earlier
 16 provided this video to the Pasadena Police Department as it was investigating her
 17 claims. The Los Angeles District Attorney’s Office eventually announced that it
 18 declined to prosecute Mr. Bauer because the evidence they had—which we now know
 19 included this video—was insufficient to prove the relevant charges. Compl. ¶ 14,
 20 Dkt. 1. Months later, on April 4, 2022, hours after the state court judge who heard
 21 the DVRO proceeding quashed Ms. Bauer’s attempts to subpoena the materials in the
 22 possession of the Pasadena Police Department, Ms. Hill reached out to Detective
 23 Kimberly Jones from the Pasadena Police Department and requested that the
 24 department “return all of [her] files from the criminal investigation directly to me
 25 (documents, records, recording of the cold call, etc) and then be destroyed as PPD has
 26 no legal authority to disseminate or maintain [her] files.” Brown Decl., Ex. D. She
 27 also noted that this request was made on “advice from [her] legal counsel.” Id. In
 28 essence, Ms. Hill asked to destroy this evidence with the cooperation and advice of

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  1 her counsel. The Pasadena Police Department evidently declined and later produced
  2 the video in response to a subpoena in this case.
  3         Ms. Hill’s pattern of concealment and spoliation was recently considered by
  4 the Court in its order on Mr. Bauer’s Motion for Sanctions. See Brown Decl., Ex. K.
  5 Therein, the Court acknowledged Ms. Hill’s “improper communications with
  6 witnesses” and ordered that she “refrain from communicating in any manner with any
  7 witness in this case outside the presence of her attorney.” Id. at 15. The Court also
  8 noted that it would “permit Bauer at trial to inquire into Hill’s conduct with respect
  9 to” three witnesses Ms. Hill attempted to influence as her conduct “evidence[d]
 10 potential bias and potential admission of wrongdoing.” Id. This pattern makes this
 11 video not just indisputably relevant for what it shows, but also renders the video and
 12 testimony related to its concealment central to Ms. Hill’s credibility and her capacity
 13 for and pattern of deceit.
 14         Throughout discovery in this case, Mr. Bauer has sought the details of the
 15 communications between Ms. Hill and her counsel, Mr. Freedman, about the
 16 concealment of this video in the DVRO Proceeding. Counsel for Mr. Bauer distilled
 17 the issue of Mr. Freedman’s production of those communications by a subpoena dated
 18 August 4, 2023. Mr. Freedman objected on grounds that include the attorney-client
 19 privilege. Additionally, in Ms. Hill’s deposition on August 29, 2023, she declined to
 20 answer multiple questions about communications with counsel (whether oral or
 21 written) about the May 16, 2021 video on the ground of attorney-client privilege.
 22         B.     Legal Standard
 23         “Parties may obtain discovery regarding any nonprivileged matter that is
 24 relevant to any party’s claim or defense and proportional to the needs of the case . . . .”
 25 Fed. R. Civ. P. 26(b)(1); see also Fed. R. Civ. P. 45(d)(2)(B)(i) (“At any time . . . the
 26 serving party may move the court for the district where compliance is required for an
 27 order compelling production or inspection”). Under Federal Rules of Civil Procedure
 28 26(b)(2) and/or 45(d)(2), a court may “limit the frequency or extent of discovery” if

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  1 it finds that the discovery sought is “outside the scope permitted by Rule 26(b)(1)” or
  2 otherwise improper. However, “[t]he party opposing discovery is ‘required to carry
  3 a heavy burden of showing’ why discovery should be denied.” Alves v. Riverside
  4 Cnty., 339 F.R.D. 556, 559 (C.D. Cal. 2021).
  5        Discovery must have some relevance to a “claim or defense,” Fed. R. Civ. P.
  6 26, but “[p]roof of bias is almost always relevant because the jury, as finder of fact
  7 and weigher of credibility, has historically been entitled to assess all evidence which
  8 might bear on the accuracy and truth of a witness’ testimony.” United States v. Abel,
  9 469 U.S. 45, 50, 52 (1984); see also Fed. R. Evid. 607 (“any party . . . may attack [a]
 10 witness’s credibility”), 611 (allowing cross examination on any matter affecting a
 11 witness’s credibility).
 12        The dispute here is whether attorney-client communications concerning a
 13 critical video that was concealed from Mr. Bauer during the DVRO proceeding—the
 14 existence of which was explicitly and falsely denied to a California state court—are
 15 discoverable under the crime-fraud exception to attorney-client privilege. “In a
 16 federal action based on diversity of citizenship jurisdiction, state law governs
 17 privilege claims.” Oakes v. Halvorsen Marine Ltd., 179 F.R.D. 281, 284 (C.D. Cal.
 18 1998). California’s crime-fraud exception provides, “There is no privilege under this
 19 article if the services of the lawyer were sought or obtained to enable or aid anyone
 20 to commit or plan to commit a crime or a fraud.” Cal. Evid. Code § 956.
 21        To invoke the crime-fraud exception, the proponent of the exception “must
 22 make a prima facie showing that the services of the lawyer ‘were sought or obtained’
 23 to enable or to aid anyone” in committing or planning “a crime or fraud.” BP Alaska,
 24 199 Cal. App. 3d at 1262; accord State Farm Fire & Cas. Co. v. Superior Ct., 54 Cal.
 25 App. 4th 625, 643 (1997), as modified (May 1, 1997). This prima facie standard
 26 requires more than a “mere assertion” of a crime or fraud, but it is satisfied by a
 27 showing that the alleged crime or fraud has “some foundation in fact.” BP Alaska,
 28 199 Cal. App. 3d at 1262 (explaining further that the standard merely requires a

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  1 showing of “evidence from which reasonable inferences” of a crime or fraud may be
  2 drawn). The exception “applies to attorney communications sought to enable the
  3 client to plan to commit a fraud, whether the fraud is successful or not.” Id. The
  4 discovery sought must “have a reasonable relation” to the crime or fraud. Id. at 1268.
  5 The crime-fraud exception does not require that the entirety of an attorney’s
  6 representation be premised on an attempt to carry out a crime or fraud, or that the
  7 attorney even be aware that their services are being misused. See id. 1262-63.
  8         “[W]eighing the evidence presented on the issue of a crime or fraud” and
  9 requiring a demonstration that “the attorney’s services were retained and utilized to
 10 commit a crime or fraud” is improper if a crime or fraud could be reasonably inferred.
 11 See Jasmine Networks, Inc. v. Marvell Semiconductor, Inc., 12 Cal. Rptr. 3d 123, 131
 12 (Ct. App.), as modified on denial of reh'g (Apr. 29, 2004), review granted sub nom.
 13 Jasmine Networks v. Marvell Semiconductor, 94 P.3d 475 (Cal. 2004), review
 14 subsequently withdrawn, see Jasmine Networks, Inc. v. Marvell Semiconductor, Inc.,
 15 No. H036684, 2013 WL 3776188, at *6 n.8 (Cal. Ct. App. July 17, 2013).
 16         C.    The Crime-Fraud Exception Applies.
 17         It is a crime in California to willfully conceal any record, digital image, “or
 18 other matter or thing [that] is about to be produced in evidence upon a trial, inquiry,
 19 or investigation, authorized by law[.]” Cal. Penal Code § 135. And it is a fraud for a
 20 party or her attorney to intentionally deceive a court. See State Farm Fire & Cas., 54
 21 Cal. App. 4th at 647 (fraud on the Court triggers crime-fraud exception); Russell v.
 22 Dopp, 36 Cal. App. 4th 765 n.11 (1995) (fraud committed on the client and on the
 23 Court where plaintiff’s lawyer failed to disclose that he was unlicensed to practice
 24 law); see also Cal. Bus. & Prof. Code § 6068 (attorneys must not “seek to mislead the
 25 judge or any judicial officer by an artifice or false statement of fact or law”).
 26         The record supports the reasonable inference that at a minimum, Ms. Hill and
 27 Mr. Freedman willfully concealed evidence and deceived a court. The video at issue
 28 shows a self-recorded Ms. Hill interacting, apparently happily (Ms. Hill testified that

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  1 she was “smirking”) and without injury (Ms. Hill says that “light scratch marks”
  2 exist), through one of her social media accounts mere hours after a supposedly
  3 physically abusive encounter with Mr. Bauer. Brown Decl., Ex. G at 154:7-10,
  4 154:17 – 155:5. This was critical evidence that Ms. Hill was obligated to produce to
  5 Mr. Bauer during the DVRO proceeding. Though Ms. Hill provided the video to her
  6 attorneys over a month prior to the trial in the DVRO proceeding, see Brown Decl.,
  7 Ex. B, it was not produced to Mr. Bauer. That did not stop Ms. Hill’s attorneys from
  8 repeatedly asserting that all relevant evidence to the DVRO proceeding had been
  9 produced, including by falsely asserting that Mr. Bauer’s counsel had “everything we
 10 have” and that “[t]here [was] simply nothing in Ms. Hill’s possession and control that
 11 is relevant to the within request for Domestic Violence Restraining Order that exists
 12 and has not yet been produced.” See Brown Decl., Ex. C at 2, see also id., Ex. H at
 13 174:7 – 176:2 (omitting video from her description of the morning of May 16, 2021).
 14         There are three possible inferences from these facts. Each indicates a crime
 15 and a fraud. First, despite sending the video to Attorney Freedman in July 2021, Ms.
 16 Hill may have misled Mr. Freedman about the relevance of the video, for example by
 17 asserting that it was not associated with a relevant encounter or lying about its date.
 18 If so, Ms. Hill “commit[ed] a crime [and] a fraud” by lying to her attorneys to conceal
 19 relevant information from Mr. Bauer that was otherwise “about to be produced.” Cal.
 20 Evid. Code § 956; Cal. Penal Code § 135. The relevance of this effort is difficult to
 21 overstate. See People v. Williams, 16 Cal. 4th 153, 201, 940 P.2d 710, 743 (1997), as
 22 modified (Sept. 24, 1997) (“attempts to suppress evidence are relevant to show
 23 consciousness of guilt”); Longuy v. La Societe Francaise De Bienfaisance Mutuelle,
 24 52 Cal. App. 370, 376, 198 P. 1011, 1013 (Cal. Ct. App. 1921) (“evidence of a party’s
 25 falsehood or fraud in the preparation and presentation of his case is receivable against
 26 him”). This inference is supported by the reasonable assumption that Ms. Hill’s
 27 attorneys faithfully adhered to their ethical obligations as officers of the court, see
 28 Cal. Bus. & Prof. Code § 6068, by Ms. Hill’s relatively outsized incentive in

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  1 concealing the video, and by the fact that it was Ms. Hill who emailed the PPD
  2 requesting the return or destruction of the video at issue. The reasonableness of this
  3 inference alone satisfies Mr. Bauer’s burden to show “evidence from which
  4 reasonable inferences can be drawn to establish the fact asserted, i.e., the fraud.” BP
  5 Alaska, 199 Cal. App. 3d at 1262; see also Jasmine Networks, 12 Cal. Rptr. 3d at 130.
  6         Second, is it possible that Ms. Hill and Mr. Freedman collaborated to conceal
  7 the video. Ms. Hill’s April 4, 2022 email requesting that PPD return or destroy
  8 evidence was purportedly sent based on “advice from [her] legal counsel” and thus
  9 suggests collaboration. Additionally, if the video went unproduced due to a solo
 10 failure by Mr. Freedman to review it and ensure production in accordance with Ms.
 11 Hill’s obligations (and to correct co-counsel’s misstatements to the state court), Mr.
 12 Freedman likely would not have communicated with anyone about the video between
 13 receiving it on July 5, 2021 and Ms. Hill’s email to PPD of April 4, 2022. Yet
 14 Attorney     Freedman’s     objections    indicate   that   he   possesses   responsive
 15 communications. See supra Section III. Regardless, Ms. Hill would have “obtained”
 16 Mr. Freedman’s services in part “to enable or aid” the crime and fraud. Cal. Evid.
 17 Code § 956.
 18         Third, as noted above, it is conceivable (though unlikely) that Attorney
 19 Freedman acted alone and failed to comply with his ethical obligations. If so, setting
 20 aside an illicit instruction that Hill request the video be destroyed, there would likely
 21 be no other communications between Mr. Freedman and anyone else about the video
 22 during the time-period at issue. Thus, it would be strange for Mr. Freedman to
 23 indicate by objection that responsive materials exist. Even if Mr. Freedman acted
 24 alone as Ms. Hill’s agent, his actions would constitute a fraud undertaken on Ms.
 25 Hill’s behalf. See Cal. Penal Code § 135.
 26         The logical inference is that Ms. Hill alone or, in conjunction with her
 27 attorneys, failed to comply with her discovery obligation and lied to the California
 28 state court and Mr. Bauer. The crime-fraud exception is therefore satisfied.

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  1         D.    Ms. Hill’s Boilerplate Objections Are Unavailing.
  2         Ms. Hill’s other objections are without merit. The video and the context of its
  3 production are unequivocally relevant as discussed above, and their production (and
  4 requiring Ms. Hill to answer the limited set of questions identified) will not impose
  5 an appreciable burden. The Request for Production and deposition questions are
  6 targeted and precise, and Mr. Bauer has offered to further restrict the scope of Mr.
  7 Freedman’s review by date (to communications prior to Ms. Hill’s request that the
  8 PPD destroy this evidence on April 4, 2022). This ensures that responsive documents
  9 will have a “reasonable relation” to the fraudulent concealment. BP Alaska, 199 Cal.
 10 App. 3d at 1268.
 11         The documents and testimony sought fall squarely within the crime-fraud
 12 exception and the scope of permissible discovery under Federal Rules of Civil
 13 Procedure 26 and 45. The Court should grant Mr. Bauer’s Motion.
 14 HILL’S POSITION
 15         A.    Background Facts.
 16               1.     The Snapchat Video at issue.
 17         On the morning of May 16, 2021, Hill’s cousin, Kyle Erickson, sent Hill a
 18 message through Snapchat, a video/picture messaging application. (Hill Decl., ¶ 2;
 19 Brown Decl., Ex. G [Hill Transcript, pp. 154-155]). Erickson, who knew that Hill had
 20 made plans to see Bauer, had messaged Hill to check in and see how her night was
 21 with Bauer. (Id.).
 22         Though Bauer had battered and sexually battered Hill a few hours earlier, Hill
 23 did not feel comfortable telling Erickson what had happened to her. (Hill Decl., ¶ 3).
 24 At the time, Hill felt ashamed and embarrassed by the battery and sexual battery. (Id).
 25 Hill was also exhausted, disoriented, in shock, and had not fully processed the extent
 26 of her injuries. (Id.).
 27         Because Hill did not feel comfortable telling Erickson what had happened and
 28 was not quite sure how to respond, Hill initially decided to send Erickson a Snapchat

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  1 video message pretending that everything was fine (the “Snapchat Video”).4 (Hill
  2 Decl., ¶ 4; Brown Decl., Ex. G [Hill Transcript, pp. 154-155]). Hill, however, decided
  3 not to send the Snapchat Video message to Erickson. (Hill Decl., ¶ 5). Instead, she
  4 saved the Snapchat video on the Snapchat application. (Id.).
  5               2.      Hill sustained visible injuries as a result of being battered by
  6                       Bauer.
  7        Shortly after leaving Bauer’s home on May 16, 2021, Hill examined her face in
  8 her car and took timestamped pictures of her face that reflect some of her injuries. (Hill
  9 Decl., ¶ 6, Ex. 1).
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     Because the room was dark and she used the Snapchat application to take the
 27 Snapchat Video, the quality of the video was poor. (Hill Decl., ¶ 4; Brown Decl., Ex.
 28 G [Hill Transcript, pp. 154-155]).

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 15         These images, which were taken shortly after Hill took the Snapchat Video,
 16 demonstrate that Hill in fact did sustain visible injuries as a result of being battered by
 17 Bauer. Moreover, Hill’s bruising and swelling worsened over time following the May
 18 16th battery and sexual battery. (Hill Decl., ¶ 7).
 19               3.    Hill voluntarily disclosed the Snapchat Video to the police.
 20         When Hill was interviewed by the Pasadena Police Department (the “PPD”)
 21 following the battery and sexual battery, Hill voluntarily disclosed the Snapchat Video
 22 to the PPD. (Hill Decl., ¶ 8; Kaplan Decl., Ex. 5 [Hill Transcript, p. 157]). She did not
 23 want to hide any evidence. (Id.).
 24              4.    The DVRO Proceeding generally.
 25         On June 29, 2021, Hill filed a Petition against Bauer in Los Angeles Superior
 26 Court seeking a Domestic Violence Restraining Order (the “DVRO Proceeding”).
 27 Although Meyer, Olson, Lowy & Meyers, LLP (“MOLM”) was Hill’s lead and
 28 primary counsel in the DVRO Proceeding, Bryan Freedman of Freedman +Taitelman,

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  1 LLP (“F+T”) would later associate in as Hill’s counsel of record in the DVRO
  2 proceeding. (Freedman Decl., ¶ 2). After Freedman associated in, MOLM remained
  3 lead and primary counsel in the DVRO Proceeding. (Id.).
  4                 5.   Hill Transmits the Snapchat Video to Freedman.
  5        On July 5, 2021, Hill transmitted the Snapchat Video to Freedman, by text
  6 message. Hill, however, did not send the Snapchat Video to MOLM as she assumed
  7 that it would be circulated throughout her legal team. (Hill Decl., ¶ 10; Kaplan Decl.,
  8 Ex. 5 [Hill Transcript, pp. 158-159]). Further, Hill did not know whether the Snapchat
  9 Video needed to be produced to Bauer in the DVRO Proceeding, and assumed that her
 10 attorneys would determine what documents, if anything, needed to be produced. (Hill
 11 Decl., ¶ 10).
 12        Hill also confirmed at her deposition in this lawsuit that she never spoke with
 13 any of her attorneys about producing or not producing the Snapchat Video to Bauer in
 14 the DVRO Proceeding. (Brown Decl., Ex. G [Hill Transcript, pp. 162-163,167]).
 15 Similarly, she did not know whether the Snapchat Video was produced to Bauer in the
 16 DVRO Proceeding. (Kaplan Decl., Ex. 5 [Hill Transcript, p. 160]).
 17        Freedman, who was not taking an active role in the DVRO proceeding, assumed
 18 that MOLM had also received the Snapchat Video and that MOLM would be
 19 responsible for the production of any documents to Bauer in the DVRO proceeding, to
 20 the extent any production was even required. (Freedman Decl., ¶ 3). Freedman never
 21 transmitted the Snapchat Video to MOLM. (Id.).
 22                 6.   There was little to no formal discovery in the DVRO
 23                      Proceeding.
 24        Based on the records from the DVRO Proceeding, it does not appear that Bauer
 25 propounded any formal discovery on Hill in the DVRO Proceeding. (Kaplan Decl., 1-
 26 4). Moreover, based on the records in the DVRO Proceeding, it does not appear that
 27 Bauer ever requested (informally or formally) documents that would include the
 28 Snapchat Video. (Id).

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  1        Rather, Bauer initially informally sought four discrete and limited categories of
  2 documents that did not include the Snapchat Video. (Kaplan Decl., 1-2). On or about
  3 August 9, 2021, Bauer moved for ex parte relief seeking an order compelling four
  4 discrete and limited categories of documents that he had informally requested from
  5 Hill: (1) complete medical records; (2) communications between Hill and three
  6 particular individuals; (3) two videos that Hill had previously sent to Bauer through
  7 Instagram; and (4) native and digital images of photographs that Hill had attached to
  8 her Petition in the DVRO Proceeding. (Id.). Based on the record in the DVRO
  9 Proceeding, MOLM produced the requested documents. (Kaplan Decl., Ex. 3 [Bauer’s
 10 August 13, 2021 Motion to Compel, Ex. B]).
 11        Bauer, however, would claim that Hill’s production of these four categories of
 12 documents was incomplete. (Kaplan Decl., Ex. 3 [Bauer’s Motion to Compel].
 13 Specifically, on August 13, 2021, Bauer filed a Motion to Compel against Hill in the
 14 DVRO Proceeding claiming that Hill had produced some but not all of the four
 15 categories of documents. (Id.). Bauer also claimed that he was entitled to specific
 16 photographs that were listed on a cell phone extraction report. (Id.). Based on the
 17 records from the DVRO Proceeding, there is nothing to suggest that Bauer’s motion to
 18 compel was granted or that any additional documents were ordered to be produced.
 19               7.    Freedman has produced the only written communication
 20                     concerning the Snapchat Video during the pendency of the
 21                     DVRO Proceeding.
 22        Pursuant to an earlier subpoena in this litigation, Freedman previously produced
 23 to Bauer the portion of the July 5th text message whereby Hill transmitted the Snapchat
 24 Video to Freedman. (Kaplan Decl., ¶ 3). The July 5th text message that attached the
 25 Snapchat Video did not contain any written content. (Id.). Other than the July 5th text
 26 message which has been produced, neither Freedman nor Freedman + Taitelman have
 27 any written communications with anyone concerning the Snapchat Video that pre-dates
 28 the commencement of this lawsuit in April 2022. (Freedman Decl., ¶ 4). No such

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  1 communications have ever existed. (Id.).
  2         B.    Bauer’s Motions to Compel are Moot.
  3         The Court need not determine whether any of Hill’s communications with her
  4 counsel about the video hypothetically fall within the crime-fraud exception. That is
  5 because there are no communications, including written communications, that could
  6 conceivably fall within that exception. Consequently, Bauer’s motions to compel are
  7 moot.
  8         First, the motion to compel against Freedman is moot as Freedman does not have
  9 any additional communications to produce in response to the Freedman Subpoena that
 10 pre-date this commencement of this lawsuit in April 2022. Other than the July 5th text
 11 message, which has already been produced, neither Freedman nor F+T have any
 12 written communications with anyone concerning the Snapchat Video that pre-date the
 13 commencement of this lawsuit in April 2022. (Freedman Decl., ¶ 4). No such
 14 communications have ever existed.        (Id.).   As a result, there are no additional
 15 communications to produce.
 16         Second, the motion to compel Hill to answer questions at her deposition is also
 17 moot. As discussed, Hill confirmed at her deposition that she never spoke with any of
 18 her attorneys about producing or not producing the Snapchat Video to Bauer in the
 19 DVRO Proceeding. (Brown Decl., Ex. G [Hill Transcript, pp. 162-163,167]). If Hill
 20 did not discuss the production or non-production of the Snapchat Video, it is not even
 21 possible that there could be communications about the Snapchat Video that could be
 22 covered by any crime-fraud exception.
 23         Hill’s counsel informed Bauer’s of this, and requested that Bauer withdraw the
 24 Motion(s). (Kaplan Decl., ¶ 7, Ex. 6). Bauer was unwilling to withdraw his Motion(s).
 25 (Id).
 26         C.    The Crime-Fraud Exception Does Not Apply to Any Hypothetical
 27               Communications About the Video.
 28         Even if Bauer’s Motions were not rendered moot, Bauer has failed to satisfy his

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  1 burden that the crime-fraud exception could possibly apply.5
  2         California Evidence Code § 956 (“Section 956”) provides a very limited
  3 exception to the attorney-client privilege “if the services of the lawyer were sought or
  4 obtained to enable or aid anyone to commit or plan to commit a crime or a fraud.” Cal.
  5 Evid. Code § 956. Section 956 “codifies the common law rule that the privilege
  6 protecting confidential attorney-client communications is lost if the client seeks legal
  7 assistance to plan or perpetrate a crime or fraud.” BP Alaska Expl., Inc. v. Superior
  8 Court, 199 Cal. App. 3d 1240, 1249 (1988).
  9         This exception to the protections afforded by the attorney-client privilege is
 10 considered a “very limited” one. Geilim v. Superior Court, 234 Cal. App. 3d 166, 174
 11 (1991). Accordingly, “extreme caution must be exercised” when a party seeks to
 12 invade the attorney-client relationship by invoking Section 956. State Farm Fire &
 13 Cas. Co. v. Superior Court, 54 Cal. App. 4th 625, 644-645 (1997).
 14         Under Section 956, the burden is on the party seeking disclosure to make a prima
 15 facie case that the crime-fraud exception applies. See BP, 199 Cal. App. 3d at 1262.
 16 In order to invoke this very limited exception to the attorney-client privilege, Bauer
 17 was required to satisfy several factors. First, Bauer was required to submit prima facie
 18 proof that Hill sought or obtained the services of her attorneys “with the intent to enable
 19 [her] to commit or to plan to commit a fraud [or a crime].” BP, 199 Cal. App. 3d at
 20 1246. Second, Bauer was required to prove that the communication at issue “furthered
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        Under California law, the attorney-client privilege applies to “a confidential
 23   communication between client and lawyer[.]” Cal. Evid. Code § 954. After the party
      asserting the attorney-client privilege has shown the facts necessary to support the
 24   privilege, or where there is no dispute concerning such facts, “the burden shifts to the
      party opposing the privilege to show either the claimed privilege does not apply, an
 25   exception exists, or there has been an express or implied waiver.” Venture Law Grp. v.
      Super. Ct., 118 Cal. App. 4th 96, 102 (2004); see also Cal. Evid. Code § 917(a) (“If a
 26   privilege is claimed on the ground that the matter sought to be disclosed is a
      communication made in confidence in the course of the lawyer-client ... relationship,
 27   the communication is presumed to have been made in confidence and the opponent of
      the claim of privilege has the burden of proof to establish that the communication was
 28   not confidential.”). Here, Bauer does not dispute that communications between Hill
      and her counsel during the pendency of the DVRO Proceeding are privileged.
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  1 a crime or fraud.” State Farm, 54 Cal.App.4th at 643. Only communications with a
  2 reasonable relation to the fraud or crime are discoverable under the crime-fraud
  3 exception. See BP, 199 Cal. App. 3d at 1269. A successful application of section 956
  4 “clearly requires an intention on the part of the client to abuse the attorney-client
  5 relationship . . .” People v. Clark, 50 Cal. 3d at 623; State Farm, 54 Cal. App. 4th at
  6 645 (client’s intent must be the focus); Glade v. Superior Court, 76 Cal. App. 3d 738,
  7 746 (1978) (same).
  8         A prima facie case is “one which will suffice for proof of a particular fact unless
  9 contradicted and overcome by other evidence.” Id. To satisfy his burden, Bauer must
 10 make a showing that the alleged fraud or crime has “some foundation in fact” which
 11 can be reasonably inferred from the evidence. BP, 199 Cal.App.3d at 1262. If fraud
 12 is alleged, “the proponent of the exception need[s] ... to prove a false representation of
 13 material fact, knowledge of its falsity, intent to deceive and the right to rely [on the
 14 representation].” Id.
 15               1.     Hill did not seek the services of her attorneys to enable her to
 16                      commit a crime or defraud anyone.
 17         Bauer has failed to satisfy his burden of demonstrating that the crime-fraud
 18 exception applies to any of Hill’s communications with her attorneys. Putting aside
 19 that there were no communications between Hill and her attorneys regarding the non-
 20 production of the video during the DVRO proceedings (a fact that moots Bauer’s
 21 motion), there is simply no evidence that Hill sought or obtained the services of any of
 22 her attorneys for the purpose of committing fraud or a crime. Absent that critical
 23 evidence, Bauer’s motion should be denied.
 24         Specifically, Bauer has failed to present any evidence that Hill sought the
 25 services of any of her attorneys, including Freedman, to conceal or destroy the
 26 Snapchat Video, and in turn, prevent the video from being produced in the DVRO
 27 proceeding. The only evidence in the record is that: (a) Hill provided the Snapchat
 28 Video to one of her attorneys; (b) that she assumed that the video would be circulated

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  1 to her legal team; (c) that she did not know if the Snapchat Video needed to be
  2 produced; and (d) that she assumed that her attorneys would determine what
  3 documents, if anything, needed to be produced in the DVRO proceeding. (Hill Decl.,
  4 ¶ 10; Kaplan Decl., Ex. A [Hill Transcript, pp. 158-159]).
  5               2.     There are no communications that furthered any alleged crime
  6                      or fraud.
  7         There is also no evidence that any communications between Hill and her counsel
  8 furthered any alleged crime or fraud. Bauer claims that Hill violated Penal Code § 135
  9 (“Section 135”).6 Not so.
 10         First, the person charged with violating Section 135 must know that the evidence
 11 is “about to be produced in evidence.” Penal Code § 135. Here, absent from the record
 12 is any evidence that Hill was even required to produce the Snapchat Video in the
 13 DVRO Proceeding. The evidence confirms that any obligation to produce documents
 14 was limited to approximately four discrete categories of documents that did not
 15 encompass the Snapchat Video. (Kaplan Decl., Ex. 1-4). Accordingly, it is impossible
 16 that Hill had knowledge that the Snapchat Video was about to be produced. Even
 17 assuming that Hill had some obligation to produce the Snapchat Video, there is no
 18 evidence that she was aware of that or that she knew that its production was imminent.
 19         Second, after knowing that the evidence is about to be produced, the person
 20 charged with violating Section 135 must willfully destroy or conceal the evidence with
 21 the intent to prevent it from being produced. Again, absent from the record is any
 22 evidence that Hill was trying to willfully destroy or conceal the Snapchat Video so that
 23 it would not be produced in the DVRO proceeding. Bauer relies almost exclusively on
 24
 25   6
      Penal Code § 135 states as follows: “A person who, knowing that any book, paper,
 26 record, instrument in writing, digital image, video recording owned by another, or
    other matter or thing, is about to be produced in evidence upon a trial, inquiry, or
 27 investigation, authorized by law, willfully destroys, erases, or conceals the same, with
 28 the intent to prevent it or its content from being produced, is guilty of a misdemeanor.”

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  1 the fact that the video was not produced by Hill’s counsel in the DVRO proceeding.
  2 The mere fact that the video was not produced in the DVRO proceeding does not
  3 support the conclusion that Hill had the intent to willfully conceal the video. Again,
  4 the evidence reflects that Hill assumed that her attorneys would determine what, if
  5 anything, needed to be produced in the DVRO proceeding.
  6          Moreover, the evidence reflects that Freedman, who was not taking an active
  7 role in the DVRO proceeding, assumed that MOLM had also received the Snapchat
  8 Video and that MOLM would be responsible for the production of any documents and
  9 other materials to Bauer in the DVRO proceeding, if required. (Freedman Decl., ¶ 3).
 10 As a result, Freedman never transmitted the Snapchat Video to MOLM. (Id.).
 11          Critically, Bauer has failed to present any evidence that any of the
 12 communications that he seeks to compel furthered any alleged fraud or crime. Again,
 13 Hill never even discussed producing or not producing the Snapchat Video with any of
 14 her attorneys. At most, Bauer speculates that Hill “may have misled” one of her
 15 attorneys about the relevance of the video so that he would not believe that it would
 16 need to be produced. (Joint Stipulation, p. 14) (Emphasis added). Bauer further
 17 speculates that it is “possible that Ms. Hill and Mr. Freedman collaborated to conceal
 18 the video.” (Joint Stipulation, p. 15) (Emphasis added). Despite Bauer’s conjecture
 19 about what “may” or “possibl[y]” occurred, Bauer has not presented any evidence, let
 20 alone prima facie evidence, that it is more likely than not that such communications
 21 exist.
 22          Instead, Bauer relies on an April 2022 e-mail that Hill sent to the PPD that was
 23 on “advice from [her] legal counsel,” speculating that such advice “suggests
 24 collaboration” between Hill and Freedman to conceal evidence. In reaching that
 25 conclusion, Bauer assumes that Freedman advised Hill to make the request found in
 26 the April 2022 e-mail. Not so. Hill and Freedman never discussed such a request.
 27 (Hill Decl., ¶ 11). Hill discussed that with her other counsel, not Freedman. (Id.).
 28          Bauer also assumes that because Freedman asserted attorney-client privilege

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  1 objections in his response to the Freedman Subpoena, Freedman would likely have had
  2 communications between the time he received the Snapchat Video on July 5, 2021 and
  3 Hill’s email to PPD of April 4, 2022. Bauer ignores that Request 1 of the Freedman
  4 Subpoena (“Request 1”) broadly seeks “[a]ll communications concerning the May 16,
  5 2021 video previously produced by You as BF105.” (Brown Decl., Ex. E) (Emphasis
  6 added). Because Request 1 is not limited by time, it would include privileged
  7 communications during the pendency of this lawsuit. Bauer, however, does not
  8 contend that he is entitled to such communications during the pendency of this lawsuit.
  9 In fact, for the first time in the Joint Stipulation, Bauer offered “to limit the requested
 10 information to correspondence on or before April 4, 2022. (Joint Stipulation, p. 3).
 11         Finally, although Bauer claims that Hill also defrauded Bauer in the DVRO
 12 proceeding, Bauer has failed to present evidence that Hill had any intent to deceive
 13 Bauer in the DVRO proceeding and that she knew of any false representation of
 14 material fact related to the production of documents.
 15         Bauer relies primarily on a statement made in Hill’s opposition to Bauer’s
 16 Motion to Compel in the DVRO Proceeding whereby MOLM stated as follows: “There
 17 is simply nothing in Ms. Hill’s possession and control that is relevant to the within
 18 request for Domestic Violence Restraining Order that exists and has not yet been
 19 produced.”7 Bauer has taken this statement completely out of context. In fact, Bauer
 20 failed to even include a copy of MOLM’s opposition to Bauer’s Motion to Compel in
 21 the DVRO Proceeding within the record. Notably, the statement by MOLM in Hill’s
 22 opposition to Bauer’s Motion to Compel in the DVRO Proceeding was made in the
 23
 24   7
        Bauer also references an alleged “repeated” statement by Hill’s counsel in the
 25   DVRO proceeding that Mr. Bauer’s counsel had “everything we have.” Because
 26   Bauer has not attached any evidence that Hill’s counsel made such a statement and
      such alleged statements cannot be found in the record of the DVRO Proceeding, Hill
 27   cannot determine if her counsel made the statement, the context of such statement and
 28   what her counsel was referring to.

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  1 limited context of Bauer’s attempts to seek four to five discrete categories of
  2 documents. (Kaplan Decl., Ex. 4). MOLM’s statement related only to the categories
  3 of documents at issue in the Motion to Compel which were discussed in the opposition
  4 immediately prior to that statement being made. (Id.).
  5        In any event, there is no evidence that Hill discussed the opposition to the Motion
  6 to Compel with MOLM, that Hill was aware of this statement, and that she intended
  7 MOLM to make that statement so that she could avoid producing the Snapchat Video.
  8 Again, as Bauer’s Motion to Compel in the DVRO Proceeding did not include any
  9 categories of documents that would encompass the Snapchat Video, it does not
 10 logically follow that she would try to use the opposition to Bauer’s motion to compel
 11 as a vehicle to conceal that video. Again, Hill was not even aware of whether the
 12 Snapchat Video had been produced to Bauer.
 13
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  1 DATED: September 11, 2023        WESIERSKI & ZUREK LLP
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